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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

ALEXANDERMILLAN,                                          §
    Plaintiff,                                            §
                                                          §
v                                                         §                     EP-18-CV-353-DB
                                                          §
THE CBE GROUP, INC.,                                      §
     Defendant.                                           §

    ORDER TO COMPLY WITH FEDERAL RULE OF CIVIL PROCEDURE 26
                  AND LOCAL COURT RULE CV-16

                    On this day, the Court considered the above-captioned case in which Defendant

The CBE Group, Inc. filed an answer on January 18, 2019.

                    The Court, in the interest of efficient management of its docket, directs the

Parties' attention to changes to the Federal Rules of Civil Procedure ("Federal                  Rules")1   and the

Local Court Rules for the Western District of Texas ("Local              Rules"),2    which became effective

December 1, 2015, and April 26, 2012, respectively.               Although the Parties should be familiar

with all the Federal Rules and Local Rules, the Court points to particular requirements for the

Parties.       In the past, the Court automatically issued a scheduling order to parties upon the first

appearance of a defendant.         Now, under Local Rule CV- 16 and Federal Rule 26(f), parties must

first jointly file with the Court a written report outlining their proposed discovery plan.                 Parties

must file a proposed discovery plan no later than thirty-five days after a defendant first appears.

Additionally, the Federal Rules require a conference concerning discovery of electronically




           The amended Federal Rules can be found in various reference materials and on the Internet at
http://www.law.comell.edu/rules/frcp/overview.htm.

           The text of changes to the Local Rules is available through the district's website:
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http://www.txwd.uscourts.gov.
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stored information, including the form of production and agreements related to claims of

privilege.     Further, Local Rules CV-16(a) and (c) require parties to submit a proposed

scheduling order in the form indicated in Appendix B within sixty days after any aipearance of

any defendant.3       Finally, note that this district no longer opts out of the initial disclosure

requirements of Federal Rule 26.

                  This Court will not tolerate delays from the Parties in submitting the proposed

discovery plan and proposed scheduling order in this case.                 The Court will issue sanctions,

including dismissal if necessary, should those documents not be timely filed.

                  Accordingly, IT IS HEREBY ORDERED that ALL PARTIES TIMELY

COMPLY with the provisions of Federal Rule of Civil Procedure 26 and Local Court Rule

CV-16.

                  SIGNED this 22nd day of January 2019.



                                                          THg'H91ORABLE DAVID BRIONES
                                                       SENIOR UNITED STATES DISTRICT JUDGE




            In addition to following the format used in Appendix B of the Local Rules, the proposed scheduling
order must contain (1) only dates that fall on weekdays, (2) at least a month between the end of discovery and the
deadline for dispositive motions, (3) a twenty-page limit on dispositive motions, and (4) a long, blank line where the
Court can designate the trial date and time. Finally, in the interest of timely resolution of cases, the Parties should
choose a dispositive motions deadline that is approximately seven months after the case was filed in federal court.

         "
             Although Federal Rule 26(a) requires the Parties to exchange initial disclosures, under Federal Rule 5(d)
the Parties need not file the initial disclosures with the Court until they are used in the proceeding or the Court
orders filing.


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